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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                        IN THE UNITED STATES DISTRICT COURT                             August 23, 2021
                        FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

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IN RE: CHESAPEAKE ENERGY                        §
CORPORATION                                     §           CIVIL ACTION NO. H-21-1215
                                                §
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                         MEMORANDUM OPINION AND ORDER

       Oil-and-gas leaseholders in Pennsylvania, the bankruptcy claimants, filed three class-

action lawsuits in the Middle District of Pennsylvania against Chesapeake Energy Corp. for

improperly calculating royalties owed under their leases. The Pennsylvania Attorney General also

sued Chesapeake for improperly calculating royalties. The Pennsylvania lawsuits had proceeded

for nearly seven years when Chesapeake filed for bankruptcy in the Southern District of Texas in

June 2020.

       After roughly nine months in the bankruptcy court and mediation, the leaseholders, the

Pennsylvania Attorney General, and Chesapeake reached three proposed settlements. In February

2021, Chesapeake reached a preliminary settlement with the Pennsylvania Attorney General. That

settlement is not before the court. The parties asked the bankruptcy court for preliminary

certification of the two other settlement classes and preliminary approval of the settlement terms.

The bankruptcy court denied objections, the objectors appealed, and this court affirmed the

bankruptcy court, holding that the two settlement classes should be preliminarily certified and the

settlements approved.

       The leaseholders and Chesapeake have moved to have the two settlement classes certified

and the class settlements finally approved. (Docket Entry Nos. 41, 42, 43, 44, 45, 47). Counsel
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for both classes have also moved for approval of attorneys’ fees, costs and expenses, and incentive

awards for the named plaintiffs in one of the classes. (Docket Entry Nos. 43, 44, 45). Along with

the proposed settlements, the settling parties submitted affidavits from counsel for the proposed

classes and valuations of the proposed settlements. The objectors challenge the motions for final

approval. (Docket Entry Nos. 50, 53).

       While the immediate cash relief is lower than in the two settlements that were proposed in

the Middle District of Pennsylvania—which preliminarily approved the settlement for leaseholders

with market-enhancement clauses—the record shows that it is appropriate to finally certify the two

proposed classes and approve the proposed class settlements. The majority of the leaseholders did

not file proofs of claims in the bankruptcy court and will effectively be unable to recover without

the settlements. Class counsel, Chesapeake’s counsel, the named plaintiffs, and the Pennsylvania

Attorney General approve both settlements. The litigation proceeded for nearly seven years before

the bankruptcy. The settlements were reached after arm’s-length negotiations and mediation.

Finally, Chesapeake’s bankruptcy likely eliminated the possibility of a larger immediate recovery

for the class members. The record shows that the injunctive relief guaranteed by the settlements

will provide immediate and long-lasting benefits to the Pennsylvania leaseholders, benefits that

the lawsuits sought in the first place.

       Based on the record, the briefing, and the arguments of counsel presented at the final

fairness hearing, the motions for certification of the two settlement classes, final approval of the

proposed class settlement agreements, and for an award of attorneys’ fees, costs and expenses, and

incentive awards, (Docket Entry Nos. 41, 42, 43, 44, 45, 47), are granted. The objections are

overruled. The reasons for these rulings are set out below.




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I.     Background

       In late 2013 and early 2014, Pennsylvania oil-and-gas leaseholders filed three lawsuits in

the Middle District of Pennsylvania against Chesapeake, alleging that it underpaid royalties due to

the leaseholders under each lease. (Docket Entry No. 8 at 1264). In the first lawsuit, Demchak v.

Chesapeake, the plaintiffs alleged that Chesapeake improperly deducted postproduction costs in

calculating the royalties due. (Demchak Partners Ltd., et al., v. Chesapeake Appalachia, LLC, No.

13-2289 (M.D. Pa. 2013)).       The plaintiffs in the Demchak class have leases with market-

enhancement clauses, which preclude Chesapeake from “deducting [postproduction costs]

incurred to transform leasehold gas into marketable form,” but allow Chesapeake to “deduct a pro-

rata share of [postproduction costs] incurred after the gas is marketable if they enhance the value

of the marketable gas.” (Docket Entry No. 8 at 1288; see also id. 1543). Postproduction costs are

the costs of “gathering, compressing, treating, dehydrating, processing, transporting, or

transmitting” gas. (Docket Entry No. 8 at 1289). The Demchak plaintiffs alleged that Chesapeake

improperly deducted postproduction costs for “gathering,” dehydrating, and compressing gas to

meet “the quality and pressure specifications of the interstate pipeline into which it is delivered.”

(Demchak Partners Ltd., No. 13-2289, Docket Entry No. 1 at ¶ 23).

       At the same time the case was filed, Chesapeake and the Demchak plaintiffs entered into a

classwide settlement agreement, which the Pennsylvania federal district court preliminarily

approved in 2015. (Docket Entry No. 8 at 1264). The agreement secured over $17,000,000 for

the class members. (Demchak Partners Ltd., No. 13-2289, Docket Entry No. 91). Before reaching

the initial class settlement agreement, counsel for the Demchak plaintiffs investigated potential

claims for royalty underpayments, interviewed Chesapeake’s accounting employees, and reviewed




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production documents and royalty data. (Docket Entry No. 46 at ¶ 7–10). The settlement was

awaiting final approval when Chesapeake declared bankruptcy.

       In the second and third lawsuits, Brown v. Access Midstream Partners, LP and

Suessenbach v. Access Midstream Partners, LP, the plaintiffs alleged that Chesapeake underpaid

royalties by improperly inflating the postproduction costs it deducted from royalty payments, in

violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c)–(d).

(See Brown v. Access Midstream Partners, LP, No. 14-00591 (M.D. Pa. 2014); Suessenbach v.

Access Midstream Partners, LP, No. 14-01197 (M.D. Pa. 2014)). The leases involved in the

Brown and Suessenbach cases do not have market-enhancement clauses. Chesapeake and the

Brown and Suessenbach plaintiffs settled in August 2018 in Pennsylvania. (Docket Entry No. 8

at 1264). The settlement was awaiting preliminary court approval when the bankruptcy filing

intervened. (Docket Entry No. 8 at 1264).

       The Pennsylvania Attorney General sued Chesapeake in May 2016 for allegedly violating

Pennsylvania antitrust law and the Pennsylvania Unfair Trade Practices and Consumer Protection

Law by inflating midstream prices, improperly deducting postproduction costs from royalty

payments, engaging in unfair leasing practices, and restraining trade. (Docket Entry No. 8 at

1286). An appeal before the Pennsylvania Supreme Court was pending when Chesapeake declared

bankruptcy. (Commonwealth v. Chesapeake Energy Corp., et al., No. 81-MAP-2019 (Pa. 2020);

see also Commonwealth v. Chesapeake Energy Corp., 247 A.3d 934 (Pa. 2021)).

       In June 2020, Chesapeake filed for bankruptcy under Chapter 11 of the United States

Bankruptcy Code in the Southern District of Texas. (Docket Entry No. 8 at 13, 1266). The

automatic stay halted the Demchak, Brown, Suessenbach, and Pennsylvania Attorney General

lawsuits. (Docket Entry No. 8 at 1425). The Pennsylvania Attorney General filed a proof of claim



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before the bankruptcy court in the Southern District of Texas, as did 161 individual leaseholders.

(Docket Entry No. 8 at 1266). In January 2021, the bankruptcy court confirmed Chesapeake’s

plan of reorganization. (Docket Entry No. 8 at 1266–67).

           On February 9, 2021, Chesapeake reached a preliminary settlement with the Pennsylvania

Attorney General. The terms of that settlement are as follows:

      •    Pennsylvania oil-and-gas leaseholders may choose whether to have their royalties

           calculated based on the in-basin index price or the netback price. The in-basin index price

           is the average of two oil-and-gas price indexes, without deducting postproduction costs.

           The netback price is the average sales price Chesapeake receives for its “production month

           sales to third parties minus a proportionate share” of postproduction costs. (Docket Entry

           No. 8 at 1268).

      •    Chesapeake will pay Pennsylvania $5,300,000, which the state will distribute to

           Pennsylvania leaseholders. 1 (Docket Entry No. 8 at 1268).

           A month later, Chesapeake reached a preliminary settlement with the Demchak, Brown,

and Suessenbach plaintiffs. The Demchak plaintiffs entered what is identified as the MEC

settlement, and the Brown-Suessenbach plaintiffs entered into the Non-MEC settlement. These

settlements were negotiated jointly and “resolve all royalty-related litigation and disputes in

Pennsylvania.” (Docket Entry No. 8 at 1267). The settlement terms that bear most on the issues

here are summarized below.

           The MEC Settlement

      •    Chesapeake will pay $5,000,000 to the class members. (Docket Entry No. 8 at 1269).




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    The Pennsylvania Attorney General Settlement is not before the court.

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   •    The class members may choose each month whether to have their royalties calculated based

        on the higher of the in-basin index or netback price. (Docket Entry No. 8 at 1269).

        The Non-MEC Settlement

   •    Chesapeake will pay $1,250,000 to the class members. (Docket Entry No. 8 at 1270).

   •    The class members may choose how to have their royalties calculated going forward, using

        either the in-basin index or netback price. But they can only make their election once, not

        each month. (Docket Entry No. 8 at 1547).

        Together, the two settlements make roughly $6.25 million available for Pennsylvania

leaseholders with underpaid-royalty claims. (Docket Entry No. 8 at 1546). The settlements also

allow the Pennsylvania leaseholders to choose between “the higher of a calculated [in-basin] price

or the netback” price. (Docket Entry No. 8 at 1547). The MEC plaintiffs may choose the higher

valuation each month, while the Non-MEC plaintiffs may choose their valuation method once.

(Docket Entry No. 8 at 1547–48). All three settlements offer opt-out rights.

        These settlement terms differ from the terms reached in Chesapeake’s prebankruptcy

proposed settlements with the Demchak and Brown-Suessenbach classes. In the prebankruptcy

Demchak proposed settlement, the plaintiffs were to receive roughly $17,000,000, but without the

right to choose monthly whether to have their royalties calculated based on the higher of the in-

basin index or netback price. (In re Chesapeake Energy Corp., No. 20-33233, Docket Entry No.

3365-1). The prebankruptcy Brown-Suessenbach proposed settlement would have given the

plaintiffs $7,750,000 and the option of having their royalties calculated based on either the in-

basin index or netback price. (Brown, No. 14-00591, Docket Entry No. 185 at 6).

        The bankruptcy court certified the MEC and Non-MEC settlement classes and

preliminarily approved the settlements. (Docket Entry No. 8 at 1587–93). The court preliminarily


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found that the settlement classes and settlement terms satisfied the Rule 23 requirements, were

negotiated at arm’s-length, and were fair, reasonable, adequate, and equitable. (Id.). Fifty-eight

leaseholders, some in the MEC class and some in the Non-MEC class, objected. (Docket Entry

No. 8 at 1591). The bankruptcy court found no basis in the objections to deny the certification and

preliminary approval of the proposed settlement classes. (Docket Entry No. 8 at 1591–92). The

court also found that it was “inherently unfair for 58 [leaseholders] to hold up tens of thousands”

of other leaseholders. (Id.).

       The objectors appealed the bankruptcy court’s preliminary approval. (Docket Entry No.

1). This court affirmed the bankruptcy court’s ruling and preliminarily certified the MEC and

Non-MEC classes and approved the class settlements. (Docket Entry No. 37). The MEC and Non-

MEC plaintiffs have moved to have the classes finally certified and the class settlements finally

approved. (Docket Entry Nos. 41, 42, 43, 44, 45). Counsel for both classes have also moved for

approval of attorneys’ fees, costs and expenses, and incentive awards for the named plaintiffs in

one of the classes. (Docket Entry Nos. 43, 44, 45). Two objectors challenge the motions for final

approval. (Docket Entry Nos. 50, 53). On July 27, 2021, this court held a final fairness hearing

and heard from counsel for the MEC and Non-MEC classes, Chesapeake, and the objectors. The

rulings and reasons for them are set out below.

II.    The Legal Standards

       A.      Class Certification

       Class certification requires a “rigorous analysis of [the] Rule 23 prerequisites.” Madison

v. Chalmette Ref., LLC, 637 F.3d 551, 554 (5th Cir. 2011) (quotation marks omitted). Any

proposed class must meet four requirements:

       (1) the class is so numerous that joinder of all members is impracticable; (2) there
       are questions of law or fact common to the class; (3) the claims or defenses of the

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       representative parties are typical of the claims or defenses of the class; and (4) the
       representative parties will fairly and adequately protect the interests of the class.

FED. R. CIV. P. 23(a). These requirements “effectively limit the class claims to those fairly

encompassed by the named plaintiff’s claims.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349

(2011) (citation and quotation marks omitted).

       If a class has not been certified before settlement, courts apply the Rule 23(a) class-

certification factors with heightened scrutiny. See In re Literary Works in Elec. Databases

Copyright Litig., 654 F.3d 242, 249 (2d Cir. 2011) (“When a court is asked to certify a class and

approve its settlement in one proceeding, the Rule 23(a) requirements designed to protect absent

class members ‘demand undiluted, even heightened, attention.’” (quoting Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 620 (1997)); In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424

F. Supp. 3d 456, 484 (E.D. La. 2020) (“[T]he Court must ‘make a preliminary determination that

the proposed class satisfies the criteria set out in Rule 23(a) and at least one of the subsections of

Rule 23(b).’” (quoting Fed. Judicial Ctr., Manual for Complex Litigation § 21.632 (3d ed. 1997))).

While a court need not determine if a class proposed for settlement would be manageable for trial,

the court must “be particularly mindful of the other requirements in the rule because of the potential

dangers to the absentees’ interests that were presented when settlement classes are involved.” 7B

Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 1797.2 (3d ed. 2021);

In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1051

(S.D. Tex. 2012) (“A district court may not ‘substitut[e] the fairness inquiry of Rule 23(e) for the

certification requirements of Rule 23(a) and (b).’” (quoting Thomas v. Albright, 139 F.3d 227, 235

(D.C. Cir. 1998))).




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       B.      Approval of Settlement Class Terms

       Under Rule 23(e), a class action “may be settled, voluntarily dismissed, or compromised

only with the court’s approval.” FED. R. CIV. P. 23(e). Rule 23(e) requires notice to the proposed

class members before the court can finally approve a class settlement. To send notice, the parties

must show “that the court will likely be able to . . . approve the proposal under Rule 23(e)(2)” and

“certify the class for purposes of judgment on the proposal.” FED. R. CIV. P. 23(e)(1)(B).

       Before 2018, the Fifth Circuit required district courts considering whether a class

settlement was fair, reasonable, and adequate under Rule 23(e)(2) to apply the following six Reed

factors: (1) the existence of fraud or collusion; (2) the complexity, expense, and likely duration of

the litigation; (3) the stage of the proceedings; (4) the plaintiffs’ probability of success; (5) the

range of possible recovery; and (6) the opinions of class counsel, class representatives, and absent

class members. See Reed v. General Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983).

       Rule 23(e)(2) was amended in 2018 to provide “uniform guidance” to courts evaluating

class settlements. Amended Rule 23(e)(2) states that a “court may approve [a settlement] only

after a hearing and only on finding that it is fair, reasonable, and adequate after considering”

whether:

       (A) the class representatives and class counsel have adequately represented the class;

       (B) the proposal was negotiated at arm’s length;

       (C) the relief provided for the class is adequate, taking into account:

               (i) the costs, risks, and delay of trial and appeal;

               (ii) the effectiveness of any proposed method of distributing relief to the class,
                    including the method of processing class-member claims;

               (iii) the terms of any proposed award of attorney’s fees, including timing of
                     payment; and

               (iv) any agreement required to be identified under Rule 23(e)(3); and

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         (D) the proposal treats class members equitably relative to each other.

FED. R. CIV. P. 23(e)(2). The Advisory Committee notes to the 2018 amendments indicate that the

changes to the rule are meant to “focus the court and the lawyers on the core concerns of procedure

and substance that should guide the decision whether to approve the proposal,” rather than

“displace any factor” sanctioned by the circuit courts. But because the Rule 23 and Reed factors

overlap, “courts in this circuit often combine them in analyzing class settlements.” ODonnell v.

Harris Cty., Texas, No. 16-CV-1414, 2019 WL 6219933, at *9 (S.D. Tex. Nov. 21, 2019); see also

In re Chinese-Manufactured Drywall Prod. Liab. Litig., 424 F. Supp. 3d 456, 485 (E.D. La. 2020)

(“[T]he Court will consider the Rule 23 requirements as informed by the Reed factors.”).

III.     Analysis

         A.     Subject-Matter Jurisdiction

         The objectors argue that the court lacks subject-matter jurisdiction over these settlement

agreements because they were entered after the bankruptcy court confirmed the debtors’

reorganization plan.

         A bankruptcy court’s subject-matter jurisdiction stems from 28 U.S.C. § 1334, which gives

federal district courts jurisdiction over (1) “cases under title 11,” (2) “proceedings arising under

title 11,” (3) proceedings “arising in” a case under title 11, and (4) proceedings “related to” a case

under title 11. In re U.S. Brass Corp., 301 F.3d 296, 303 (5th Cir. 2002). The broadest form of

jurisdiction is “related to” jurisdiction. Id. District courts may refer, and a bankruptcy court may

“hear and determine,” “all cases under title 11 and all core proceedings arising under title 11, or

arising in a case under title 11, referred under subsection (a) of this section.” 28 U.S.C. § 157(b)(1).

Noncore proceedings that are “otherwise related to a case under title 11” may be heard by a

bankruptcy judge, but any final order or judgment must be entered by the district court. Id. at

§ 157(c)(1).
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       The issue is whether the final fairness hearing is “related to” the debtors’ bankruptcy. In

re U.S. Brass, 301 F.3d at 304. After a debtor’s reorganization plan is approved, a court’s related-

to jurisdiction shrinks: bankruptcy jurisdiction “ceases to exist, other than for matters pertaining

to the implementation or execution of the plan.” Id. (quoting In re Craig’s Stores of Tex., Inc.,

266 F.3d 388, 390–91 (5th Cir. 2001)). Courts analyze several factors when determining whether

a court retains postconfirmation subject-matter jurisdiction over a dispute: “(1) when the claim at

issue arose; (2) what provisions in the confirmed plan exist for resolving disputes and whether

there are provisions in the plan retaining jurisdiction for trying these suits; (3) whether the plan

has been substantially consummated; (4) the nature of the parties involved; (5) whether state law

or bankruptcy law applies; and (6) indices of forum shopping.” In re Encompass Servs. Corp.,

337 B.R. 864, 873 (Bankr. S.D. Tex. 2006).

       For example, in U.S. Brass, the Fifth Circuit affirmed the bankruptcy court’s exercise of

subject-matter jurisdiction when: (1) the plan had not been fully consummated; (2) there was a

dispute over whether the relief requested was consistent with the plan and bankruptcy law would

ultimately determine the dispute; (3) the outcome of the dispute could affect the parties’

postconfirmation rights and responsibilities; and (4) the proceeding would impact compliance

with, or completion of, the plan. 301 F.3d at 304–05.

       Similarly, in In re Senior Care Centers, LLC, 622 B.R. 680, 689 (Bankr. N.D. Tex. 2020),

the bankruptcy court exercised jurisdiction when: (1) the plan was not “fully consummated”; (2)

the creditors had “not yet received distributions on their claims”; (3) the “outstanding obligation

that must be resolved prior to full consummation of the Plan was at the heart of [the] dispute”; and

(4) the reorganization plan contained a retention-of-jurisdiction clause.




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        Here, several factors support subject-matter jurisdiction. The Pennsylvania oil-and-gas

litigation arose seven years before Chesapeake declared bankruptcy. The debtors’ confirmation

plan is not fully consummated. The debtor, not a third party, is the defendant in the litigation. The

parties have moved for final approval of their settlement agreements in the bankruptcy court.

Finally, the settlements will affect the debtors’ postconfirmation rights and responsibilities under

each oil-and-gas lease. The confirmation order here makes clear that the bankruptcy court retained

“exclusive jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the

Plan,” including jurisdiction to:

    •   “adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated

        matters, and any other matters, and grant or deny any applications involving a Debtor that

        may be pending on the Effective Date”;

    •   “issue injunctions, enter and implement other orders, or take such other actions as may be

        necessary to restrain interference by any Entity with Consummation or enforcement of

        the Plan”; and

    •   “enter and implement such orders as may be necessary to execute, implement, or

        consummate the provisions of the Plan and all contracts, instruments, releases,

        indentures, and other agreements or documents created or entered into in connection with

        the Plan.”

(Docket Entry No. 8 at 1248–49).

        The court has subject-matter jurisdiction to address the MEC and Non-MEC settlement

agreements. 2




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 Relatedly, the objectors argue that the court should abstain from deciding state-law issues and transfer the
settlement to the Middle District of Pennsylvania. The court has “broad discretion” under the permissive

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        B.      The Named MEC and Non-MEC Plaintiffs’ Standing

        The objectors argue that the named plaintiffs lack standing because they did not file proofs

of claim for their breach-of-contract claims and claims under the Racketeer Influenced and Corrupt

Organizations Act. This standing argument appears to be based on mootness. Standing is assessed

when a complaint is filed. See Davis v. FEC, 554 U.S. 724, 734 (2008). Several courts have

rejected similar mootness arguments. See In re Brotman Med. Ctr., Inc., No. 08-BAP-1056, 2008

WL 8444797, at *4 (B.A.P. 9th Cir. Aug. 15, 2008) (failure to file a timely proof of claim does

not moot an underlying cause of action); see also In re Martin, 617 B.R. 866, 877 (Bankr. S.D.

Miss. 2020) (“[The creditor’s] withdrawal of the proof of claim does not make the . . . count

moot.”); In re Robinson, 554 B.R. 800, 808 (Bankr. W.D. La. 2016) (“This Court holds that the

claims . . . are not rendered moot by the withdrawal of the [proof of] claim.”). A proof of claim

withdrawn or not presented before the bankruptcy court by the named plaintiffs does not make

their claims moot or deprive them of standing. (In re Chesapeake Energy Corp., No. 20-33233,

Docket Entry No. 2833 at 46).

        C.      The Rule 23(a) Factors

        Any proposed class must meet four requirements:

        (1) the class is so numerous that joinder of all members is impracticable; (2) there
        are questions of law or fact common to the class; (3) the claims or defenses of the
        representative parties are typical of the claims or defenses of the class; and (4) the
        representative parties will fairly and adequately protect the interests of the class.

FED. R. CIV. P. 23(a). These requirements “effectively limit the class claims to those fairly

encompassed by the named plaintiff’s claims.” Dukes, 564 U.S. at 349 (citation and quotation

marks omitted).



discretion doctrine to hear cases Chapter 11 cases over which the court has subject-matter jurisdiction. See
Matter of Gober, 100 F.3d 1195, 1206 (5th Cir. 1996). There is no reason to abstain from hearing this case.

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               1.      Numerosity

       The MEC class contains 8,925 leaseholders, and the Non-MEC class contains 14,060 class

members. (Docket Entry No. 58-1 at 3). Numerosity is not challenged.

               2.      Commonality

       Commonality requires the class members’ claims to “depend upon a common

contention . . . of such a nature that it is capable of classwide resolution—which means that

determination of its truth or falsity will resolve an issue that is central to the validity of each one

of the claims in one stroke.” Wal-Mart Stores, 564 U.S. at 350. Commonality may “relate to the

injurious effects experienced by the class members” and “the defendant’s injurious conduct.” In

re Deepwater Horizon, 739 F.3d 790, 811 (5th Cir. 2014); Sullivan, 667 F.3d at 297 (commonality

“is informed by the defendant’s conduct as to all class members and any resulting injuries common

to all class members”).

       Both classes present common factual and legal questions related to Chesapeake’s conduct

and the effect it had on Chesapeake’s royalty payment methodology. The MEC named plaintiffs

and putative class members were subject to the same “alleged[ly] improper royalty payment

practices” under a common market-enhancement clause. (In re Chesapeake Energy Corp., No.

20-33233, Docket Entry No. 3365-1 at 9−10). Each MEC class member’s lease includes an

identical market-enhancement clause that precludes Chesapeake from deducting postproduction

costs, including the cost of “producing, gathering, storing, separating, treating, dehydrating,

compressing, processing, transporting, and marketing” withdrawn oil and gas. (Demchak Partners

Ltd., No. 13-2289, Docket Entry Nos. 1-1, 1-2, 1-3, 1-4, 1-5, 1-6, 1-7, 1-8, 1-9, 1-10). The legal

and “factual issues common to all” class members include whether Chesapeake deducted these

postproduction costs and, if so, whether those deductions were proper under the MEC class



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members’ market-enhancement clauses. 3 (In re Chesapeake Energy Corp., No. 20-33233, Docket

Entry No. 3365-1 at 9−10).

       The Non-MEC putative class members were also subject to a common, allegedly improper

royalty payment scheme. The Non-MEC putative class members had leases that permitted

Chesapeake to deduct postproduction costs. (Brown, No. 14-00591, Docket Entry Nos. 57-1, 57-

2; Suessenbach, No. 14-1197, Docket Entry Nos. 1-6, 1-7, 1-8). The Non-MEC class members

allege that Chesapeake artificially inflated postproduction costs after entering into a collusive

agreement with Access Midstream to pay supracompetitive prices for “gas gathering and

transportation services” and deducting the increased costs from royalties paid to the Non-MEC

class members. (Brown, No. 14-00591, Docket Entry No. 57 at ¶¶ 52–53; Suessenbach, No. 14-

1197, Docket Entry No. 1 at ¶ 46). The legal and factual questions common to the Non-MEC class

members include whether Chesapeake artificially inflated postproduction costs through a collusive

arrangement with Access Midstream and, if so, whether the artificially inflated costs were

deducted from the Non-MEC class members’ royalties, in violation the Racketeer Influenced and

Corrupt Organizations Act, 18 U.S.C. § 1962(c)–(d). (Id.). Commonality is shown.

               3.      Typicality

       Typicality addresses “‘whether the class representative’s claims have the same essential

characteristics of those of the putative class.’” Ward v. Hellerstedt, 753 F. App’x 236, 247 (5th

Cir. 2018) (quoting Stirman v. Exxon Corp., 280 F.3d 554, 562 (5th Cir. 2002)). Typicality does

not require “a complete identity of claims.” Stirman, 280 F.3d at 562 (quotation marks and citation

omitted); see also FED. R. CIV. P. 23(a)(3). Typicality is not as concerned with “strengths of the




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 The Middle District of Pennsylvania court made similar commonality findings. (In re Chesapeake Energy
Corp., No. 20-33233, Docket Entry No. 3365-1 at 9−10).

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named and unnamed plaintiffs’ cases” as with the “similarity of legal and remedial theories behind

their claims.” Ibe v. Jones, 836 F.3d 516, 528–29 (5th Cir. 2016) (internal quotation marks and

citation omitted). Factual differences will not defeat typicality if the named plaintiffs and putative

class members have claims that “arise from a similar course of conduct and share the same legal

theory.” Stirman, 280 F.3d at 562 (internal quotation marks and citations omitted). A named

plaintiff who can show commonality can usually show typicality. See Gen. Tel. Co. of Sw. v.

Falcon, 457 U.S. 147, 158 n.13 (1982) (“The commonality and typicality requirements of Rule

23(a) tend to merge.”); Flecha v. Medicredit, Inc., 946 F.3d 762, 768 (5th Cir. 2020) (“[I]f there

is no common issue uniting the putative class, [the named plaintiff’s] claim can’t be typical of the

claims or defenses of the class.” (citation and quotation marks omitted).

       The named MEC plaintiffs’ claims are typical of the MEC class members’ claims. They

involve the same alleged royalty underpayment scheme, similar market-enhancement clauses, and

similar breach-of-contract theories.     Each MEC class member’s lease included a market-

enhancement clause that precluded Chesapeake from deducting postproduction costs, including

the cost of “producing, gathering, storing, separating, treating, dehydrating, compressing,

processing, transporting, and marketing” withdrawn oil and gas. (Demchak Partners Ltd., No. 13-

2289, Docket Entry Nos. 1-1, 1-2, 1-3, 1-4, 1-5, 1-6, 1-7, 1-8, 1-9, 1-10). The named plaintiffs

allege that Chesapeake deducted the postproduction costs, causing it to underpay royalties to the

MEC class members. See Cleven v. Mid-Am. Apartment Communities, Inc., 328 F.R.D. 452, 471

(W.D. Tex. 2018) (“Plaintiffs’ claims and those of the putative class members arise from common

conduct: a uniform late-fee scheme was in effect for their leases and they were automatically

charged by Defendants’ property management system according to that scheme when their rent

was not timely paid.”); Altier v. Worley Catastrophe Response, LLC, No. 11-CV-241, 2011 WL



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3205229, at *8 (E.D. La. July 26, 2011) (the named plaintiffs’ claims were “typical of the claims

of all class members because they [were] based factually on the same underlying contract and

legally on the same theory of breach of contract.”).

       The objectors argue that there are differences among the MEC named plaintiffs’ leases that

make them atypical of the other class members’ leases. The objectors identify 26 leases negotiated

by the Wyoming County Landowners Group that differ from other class members’ leases. (Docket

Entry No. 8 at 1423). But before the Middle District of Pennsylvania, the objectors argued that

each Wyoming County lease contains a market-enhancement clause that “mirrors one of the

example” market-enhancement clauses “in the class notice.” (Demchak Partners Ltd., No. 13-

2289, Docket Entry No. 120 at 11).

       The record confirms that the Wyoming County leases have market-enhancement clauses

that do not differ materially from the clauses in the named MEC plaintiffs’ leases. See In re

Heartland, 851 F. Supp. 2d at 1055 (“Despite possible state-by-state variations in the elements of

these claims, they arise from a single course of conduct by [the defendant] and a single set of legal

theories.”). The Wyoming County leases preclude Chesapeake from deducting “any expense

required to make gas marketable,” including “expenses of production, gathering, dehydration,

compression, manufacturing, processing, treating, transporting or marketing” the withdrawn oil

and gas. (Docket Entry No. 8 at 1510). The named MEC plaintiffs’ market-enhancement clauses

also preclude Chesapeake from deducting the cost of “producing, gathering, storing, separating,

treating, dehydrating, compressing, processing, transporting, and marketing” withdrawn oil and

gas. (Demchak Partners Ltd., No. 13-2289, Docket Entry Nos. 1-1, 1-2, 1-3, 1-4, 1-5, 1-6, 1-7, 1-

8, 1-9, 1-10; Docket Entry No. 8 at 1288). Chesapeake allegedly deducted postproduction costs,

in violation of the MEC and Wyoming County market-enhancement clauses. The central disputes



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under both sets of leases are when the withdrawn gas became marketable and whether Chesapeake

could deduct the costs incurred to gather, dehydrate, and compress the gas so that it met “the

quality and pressure specifications of the interstate pipeline into which it is delivered.” (Demchak

Partners Ltd., No. 13-2289, Docket Entry No. 1 at ¶ 23). Both sets of leaseholders allege a “similar

course of conduct” and the “same [breach-of-contract] legal theory.” Stirman, 280 F.3d at 562.

        The Non-MEC named plaintiffs also have claims that are typical of the Non-MEC class

members. The Non-MEC named plaintiffs allege that Chesapeake engaged in a scheme to

artificially inflate postproduction costs by agreeing to pay Access Midstream supracompetitive

prices for “gas gathering and transportation services” and deducting the increased costs from

royalties owed to the Non-MEC class members. (Brown, No. 14-00591, Docket Entry No. 57 at

¶¶ 52–53; Suessenbach, No. 14-1197, Docket Entry No. 1 at ¶¶ 53–58). Typicality is shown.

                4.      Adequacy of Representation

        Adequacy of representation turns on three factors: “(1) the zeal and competence of the

representatives’ counsel; (2) the willingness and ability of the representatives to take an active role

in and control the litigation and to protect the interests of absentees; and (3) the risk of conflicts of

interest between the named plaintiffs and the class they seek to represent.” Slade v. Progressive

Sec. Ins. Co., 856 F.3d 408, 412 (5th Cir. 2017) (quoting Feder v. Elec. Data Sys. Corp., 429 F.3d

125, 130 (5th Cir. 2005)) (quotation marks and citation omitted). Courts “must be especially

vigilant to ensure that the due process rights of all class members are safeguarded through adequate

representation at all times.” Berger, 257 F.3d at 480 (citing Phillips Petroleum Co. v. Shutts, 472

U.S. 797, 812 (1985)). Thus, to satisfy the adequacy of representation requirement, “the class

representatives [must] possess a sufficient level of knowledge and understanding to be capable of

‘controlling’ or ‘prosecuting’ the litigation.” Ibe, 836 F.3d at 529 (quoting Berger, 257 F.3d at

482–83) (quotation marks omitted).
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                       a.      The Zeal and Competence of Class Counsel

       Counsel for both classes are experienced in class actions and oil-and-gas disputes. (Docket

Entry No. 41-1; Docket Entry No. 46 at ¶¶ 4–6). The MEC class counsel have zealously pursued

this litigation for nearly eight years, in both the Middle District of Pennsylvania and in the Southern

District of Texas bankruptcy and district courts. (Docket Entry No. 41-1 at ¶¶ 4–6; Docket Entry

No. 46 at ¶¶ 7–27).      Counsel for the MEC class investigated potential claims for royalty

underpayments for a year before filing their complaint. Before filing their lawsuit, Chesapeake

allowed MEC class counsel to interview Chesapeake’s accounting employees and review

production documents and royalty data. MEC class counsel and Chesapeake then hired Judge

Edward N. Cahn, a retired federal judge, to mediate the MEC claims, which resulted in a

preliminary settlement agreement. (See Demchak, 13-02289, Docket Entry No. 3-6). MEC class

counsel filed their lawsuit and the proposed settlement agreement in the Middle District of

Pennsylvania.

       After filing the proposed settlement agreement, another group of Pennsylvania lessors, the

Burketts, initiated a putative class arbitration against Chesapeake, moved to intervene in the

Middle District of Pennsylvania, and moved to consolidate the MEC class claims with the claims

in the pending arbitration. (See Demchak, No. 13-02289, Docket Entry Nos. 25, 40). Chesapeake,

MEC class counsel, and the Burketts then mediated for three days under Judge Cahn and Richard

Schiffrin, an attorney who had previously represented the Pennsylvania leaseholders. The parties

reached a new settlement with amended terms, and the Burketts joined the settlement. The Middle

District of Pennsylvania preliminarily approved the new settlement.

       At the end of the opt-out and objection period, the Pennsylvania Attorney General objected

to the settlement. The Pennsylvania Attorney General then sued Chesapeake for allegedly inflating



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midstream prices, improperly deducting them from royalty payments, and engaging in unfair

leasing practices. (Docket Entry No. 8 at 1286). An appeal before the Pennsylvania Supreme

Court was pending when Chesapeake declared bankruptcy. (Commonwealth v. Chesapeake

Energy Corp., et al., No. 81-MAP-2019 (Pa. 2020); see also Commonwealth v. Chesapeake

Energy Corp., 247 A.3d 934 (Pa. 2021)). After further negotiations in the bankruptcy court, MEC

class counsel, Chesapeake, the Burketts, and the Pennsylvania Attorney General reached the

settlement proposed here.

       Non-MEC class counsel have been litigating for the last seven years, in the Middle District

of Pennsylvania and the Southern District of Texas bankruptcy, and now district, courts. Before

Chesapeake declared bankruptcy and before reaching a settlement agreement, the Non-MEC class

counsel survived a motion to dismiss, conducted extensive discovery, and hired experts to help

them understand the strengths and weaknesses of their claims. (Docket Entry No. 42-1 at ¶ 2).

The parties mediated with Judge Cahn and John Perry, an oil-and-gas mediator, and reached a

proposed settlement, which was also put on hold when the Pennsylvania Attorney General sued

Chesapeake and objected to the MEC settlement. (Id. at ¶ 9). The parties continued mediating

with Judge Cahn and Mr. Perry until they reached a final agreement, which was filed in 2018.

(Id.). After Chesapeake filed for bankruptcy, Non-MEC class counsel negotiated a new settlement

with a reduced cash payment but substantially similar injunctive relief. (Id. at ¶ 10). The

Pennsylvania Attorney General approved the Non-MEC settlement before the court. (Id.).

       MEC and Non-MEC class counsel have recovered significant benefits for the class

members, despite the lengthy, complex litigation in multiple courts against a bankrupt defendant.

The objectors do not challenge the zeal and competence of the class counsel.




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                       b.      The Named Plaintiffs’ Role in the Litigation

         MEC class counsel did not provide evidence of the named plaintiffs’ specific roles in the

litigation, but the record shows that the named plaintiffs approved and signed the settlement

agreement. Class counsel stated at oral argument that the named plaintiffs approved the settlement.

         The Non-MEC named plaintiffs were involved in the litigation. The named plaintiffs

reviewed important pleadings and filings, and class counsel informed the named plaintiffs about

mediation and settlement efforts. (Docket Entry No. 41 at 26). The Non-MEC named plaintiffs

also provided information and input in drafting the complaint, participated in discovery, and

communicated with Non-MEC class counsel throughout the more than seven-year litigation.

(Docket Entry No. 44 at 23). The named plaintiffs approved and signed the settlement agreement.

(Id.).

                       c.      Conflicts of Interest

         The record does not reveal conflicts of interest between the named plaintiffs and the

unnamed class members in the MEC or Non-MEC class. Each MEC class member’s lease

included the same market-enhancement clause, precluding Chesapeake from deducting

postproduction costs. (Demchak Partners Ltd., No. 13-2289, Docket Entry Nos. 1-1, 1-2, 1-3, 1-

4, 1-5, 1-6, 1-7, 1-8, 1-9, 1-10).      The named plaintiffs allege that Chesapeake deducted

postproduction costs, causing it to underpay royalties to the MEC class members.

         Also as noted above, the Non-MEC putative class members had similar leases that

permitted Chesapeake to deduct postproduction costs. (Brown, No. 14-00591, Docket Entry Nos.

57-1, 57-2; Suessenbach, No. 14-1197, Docket Entry Nos. 1-6, 1-7, 1-8). The Non-MEC class

members allege that Chesapeake artificially inflated postproduction costs through a collusive

agreement with Access Midstream to pay supracompetitive prices for “gas gathering and



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transportation services,” and then deducted the increased costs from royalties owed to the Non-

MEC class members. (Brown, No. 14-00591, Docket Entry No. 57 at ¶¶ 52–53; Suessenbach, No.

14-1197, Docket Entry No. 1 at ¶ 46).

       The objectors argue that the MEC and Non-MEC named plaintiffs are inadequate

representatives because they did not file proofs of claims with the bankruptcy court, while some

class members did. The court rejected this argument when it affirmed the bankruptcy court’s

preliminary approval of the MEC and Non-MEC settlement classes. (Docket Entry No. 37). The

argument is reviewed, and examined de novo, here.

       While some courts have held that differences in bargaining position may raise questions

about whether the named plaintiffs are adequate representatives, see In re Graphics Processing

Units Antitrust Litig., 253 F.R.D. 478, 490 (N.D. Cal. 2008) (“The wholesale purchasers therefore

came to the negotiating table in a fundamentally different position than the representative

[individual consumer] plaintiffs.”), the record does not show that filing a proof of claim

substantially improves an individual class member’s bargaining position. Even if a proof of claim

did improve some class members’ bargaining position, the record does not show that “some

difference in bargaining power would create antagonism between the class representatives and the

class.” Fond Du Lac Bumper Exch., Inc. v. Jui Li Enter. Co., Ltd., No. 09- CV-0852, 2016 WL

3579953, at *3 (E.D. Wis. June 24, 2016). The incentives of the named plaintiffs and those who

filed proofs of claim are aligned, not antagonistic. See Morrow v. Washington, 277 F.R.D. 172,

196 (E.D. Tex. 2011) (“[A]ny differences in the specific factual circumstances giving rise to the

claims of the proposed class representatives and the members of the class do not affect the

alignment of the class representatives’ interests with the interest of the class.”).




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       The MEC and Non-MEC classes together have roughly 22,985 members, but only 161

filed proofs of claims. 4 (Docket Entry No. 8 at 1266). The class members who filed proofs of

claims are the outliers and exceptions. See Fond Du Lac Bumper Exch., 2016 WL 3579953, at *3

(finding no conflicts of interest when the “class representatives’ claims were [not] atypical of a

large portion of the putative class,” even though some class members “had substantially more

bargaining power than other class members”); Kramer v. Am. Bank & Tr. Co., N.A., No. 11-CV-

8758, 2017 WL 1196965, at *5 (N.D. Ill. Mar. 31, 2017) (“Proceeding on a class-wide basis is

also appropriate because, except for a few outliers, most class members do not have a sufficient

stake in their fraud claims to go it alone.”). Those who filed proofs of claims are also protected

by their opt-out rights. See McKibben v. McMahon, No. 14-CV-2171, 2019 WL 1109683, at *4

(C.D. Cal. Feb. 28, 2019) (approving a class settlement with a “recovery ceiling” “to ensure that

outliers who have outsized claims do not distort the meaningfulness of the recovery to the

remaining class members” because “[s]uch outliers would be entitled to opt out and pursue their

own claims if they so chose.”).

       As this court previously noted, the primary difference between the prebankruptcy and

postbankruptcy settlements is that the postbankruptcy settlements are in the bankruptcy forum.

The difference in forum does not convert the named plaintiffs into inadequate representatives. See

In re Ry. Indus. Emp. No-Poach Antitrust Litig., 395 F. Supp. 3d 464, 504 (W.D. Pa. 2019) (“There

may be factual differences among the various kinds of [plaintiffs] in the putative class, but, at this

stage, the court cannot conclude that those differences create a conflict of interest between the

named plaintiffs and the members of the putative class that render the claims of the named




4
 The record shows some difficulty determining the exact number of leaseholders because leaseholders “can
hold multiple leases . . . in different names.” (Docket Entry No. 58-1 at 3).

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plaintiffs atypical compared to the claims of the putative class.”); City of San Antonio v.

Hotels.com, No. 06-CV-381, 2008 WL 2486043, at *8 (W.D. Tex. May 27, 2008) (“Defendants

have not claimed that a conflict of interest exists between the [named plaintiff] and the putative

class, and the evidence does not reflect any differences between them that would be significant

enough to create a conflict.”).

       Adequacy of representation is met.

       D.      The Rule 23(b)(3) Factors

       In addition to satisfying the Rule 23(a) requirements, “[t]he proposed class must also

satisfy the requirements of Rule 23(b)(1), (2), or (3).” In re Wilborn, 609 F.3d 748, 755 (5th Cir.

2010). Under Rule 23(b)(3), the MEC and Non-MEC plaintiffs must establish that “questions of

law or fact common to class members predominate over any questions affecting only individual

members, and that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” FED. R. CIV. P. 23(b)(3).

               1.      Predominance

       “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem, 521 U.S. at 623; cf. AMERICAN

LAW INSTITUTE, PRINCIPLES         OF THE   LAW   OF   AGGREGATE LITIGATION § 3.06 cmt. a (2010)

[“Aggregate Litigation”] (“So long as there is sufficient commonality to establish that the class is

generally cohesive, the propriety of a settlement need not depend on satisfaction of a

‘predominance’ requirement.”). Predominance is “more demanding than the Rule 23(a)

requirement of commonality” and requires the court to determine “how the matter will be tried on

the merits, which entails identifying the substantive issues that will control the outcome, assessing

which issues will predominate, and then determining whether the issues are common to the class.”

Wilborn, 609 F.3d at 755 (quotation marks, footnotes, and citation omitted).
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       Common issues predominate in the MEC class. The MEC class members’ claims are

governed solely by Pennsylvania law; Chesapeake has not raised affirmative defenses that might

implicate individualized extrinsic proof; and classwide damages can be calculated and distributed

pro rata, without undue burden, based on past royalty payments and oil-and-gas production volume

records. See Cruson v. Jackson Nat’l Life Ins. Co., 954 F.3d 240, 255–58 (5th Cir. 2020)

(predominance can be defeated by variations in state law, issues that require individualized

extrinsic evidence, and damages that are not susceptible to classwide measurement). The MEC

class members’ claims depend on the interpretation of a market-enhancement clause included in

each class members’ lease and whether Chesapeake properly deducted certain postproduction costs

under the common market-enhancement clause. See id. at 255 (“[S]uits involving form contracts

often lend themselves to class treatment.”); Sacred Heart Health Sys., Inc. v. Humana Mil.

Healthcare Servs., Inc., 601 F.3d 1159, 1171 (11th Cir. 2010) (“It is the form contract, executed

under like conditions by all class members, that best facilitates class treatment”). These inquiries

will “affect all class member’s claims.” Frey v. First Nat. Bank Sw., 602 F. App’x 164, 170 (5th

Cir. 2015).

       Common issues also predominate in the Non-MEC class. The Non-MEC class members’

claims are governed by federal and Pennsylvania law. The claims turn on whether Chesapeake’s

alleged conduct—agreeing to pay Access Midstream inflated prices for gas transportation and

gathering in Pennsylvania and deducting those increased costs from royalties paid to the Non-

MEC class members—harmed the class members. See Amchem, 521 U.S. at 625 (“Predominance

is a test readily met in certain cases alleging consumer or securities fraud or violations of the

antitrust laws.”); see also In re Heartland Payment Sys., Inc., 851 F. Supp. 2d at 1059 (“[T]his

case presents several common questions of law and fact arising from a central issue: [the



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defendant’s] conduct . . . and the resulting injury to each class member from that conduct.”);

Sullivan v. DB Invs., Inc., 667 F.3d 273, 304 (3d Cir. 2011) (“[W]e are confident that the several

common questions of law or fact arising from a single central issue—namely, [the defendant’s]

alleged anticompetitive conduct and the resulting injury caused to each class member—

predominate over any issues concerning individual class members.” (quotation marks omitted)).

               2.      Superiority

       Superiority examines whether a class action is a better vehicle for resolving a case than

other possible methods, such as individual litigation or consolidation. The predominance and

superiority inquiries are closely related. In re Heartland Payment Sys., Inc., 851 F. Supp. 2d at

1060 (citing Sacred Heart, 601 F.3d at 1184). Rule 23(b)(3) lists four nonexhaustive factors

relevant to superiority:

       (A) the class members’ interest in individually controlling the prosecution or
       defense of separate actions;

       (B) the extent and nature of any litigation concerning the controversy already begun
       by or against class members;

       (C) the desirability or undesirability of concentrating the litigation of the claims in
       the particular forum; and

       (D) the likely difficulties in managing a class action.

FED. R. CIV. P. 23(b)(3). Under Amchem, the fourth factor may be disregarded in a proposed

settlement class. 521 U.S. at 620.

       Common issues of law and fact predominate over individual issues. Castano v. Am.

Tobacco Co., 84 F.3d 734, 749 (5th Cir. 1996) (predominance informs the superiority analysis).

Most of the class members did not file a proof of claim and do not have remaining claims against

Chesapeake, and these class members have not taken steps to individually litigate their claims.

Neither class presents “complex choice-of-law or Erie problems,” subclassing is unnecessary, and


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the classes consist of thousands, “instead of millions, of members,” all of whom were easily located

and notified of the settlement agreements. Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620,

627 (5th Cir. 1999).

          E.      The Rule 23(e)(2) and Reed factors

                  1.       Whether the Class Representatives and Counsel Have Adequately
                           Represented the Class 5

          As discussed above, ample record evidence shows that the class has been ably and

diligently represented, in a case filled with legal and factual complexities. Counsel for both classes

were competent and zealously litigated on behalf of the classes. The named plaintiffs do not have

conflicts of interest with the putative class members.

                  2.       Whether the Proposed Class Settlement Was Negotiated at Arm’s
                           Length or Was a Product of Fraud or Collusion 6

          “The Court may . . . presume that no fraud or collusion occurred between opposing counsel

in the absence of any evidence to the contrary.” Welsh v. Navy Fed. Credit Union, No. 16-CV-

1062, 2018 WL 7283639, at *12 (W.D. Tex. Aug. 20, 2018). The MEC and Non-MEC class

settlements were the product of rigorous, hard-fought negotiations conducted at arm’s length. The

record shows the many hearings in the Middle District of Pennsylvania and the Southern District

of Texas bankruptcy court, several mediations with experienced mediators, the involvement of the

Pennsylvania Attorney General, and lengthy, difficult negotiations. See In re Oil Spill by Oil Rig

Deepwater Horizon in Gulf of Mexico, on Apr. 20, 2010, 910 F. Supp. 2d 891, 931 (E.D. La. 2012)

(use of a mediator “further weigh[s] in favor of a finding that the Settlement was fairly

negotiated”). The record amply demonstrates the zealous advocacy that all sides deployed.




5
    See FED. R. CIV. P. 23(e)(2)(A).
6
    See FED. R. CIV. P. 23(e)(2)(B); Reed, 703 F.2d at 172.

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                   3.      Whether the Relief Was Adequate Considering the Duration, Costs,
                           Risks, and Delay of Trial and Appeal 7

          “When the prospect of ongoing litigation threatens to impose high costs of time and money

on the parties, the reasonableness of approving a mutually-agreeable settlement is strengthened.”

In re Heartland, 851 F. Supp. 2d at 1064 (quoting Klein v. O’Neal, Inc., 705 F. Supp. 2d 632, 651

(N.D. Tex. 2010)); see also Ayers v. Thompson, 358 F.3d 356, 369 (5th Cir. 2004) (“[S]ettling . . .

avoids the risks and burdens of potentially protracted litigation.”).

          The MEC case has continued for nearly eight years, but the parties have not completed

motions to dismiss, formal discovery, or dispositive motions. The Non-MEC case has proceeded

for over seven years. The plaintiffs survived motions to dismiss, but the parties have not completed

formal discovery or dispositive motion briefing. Chesapeake is now in bankruptcy, and few of the

putative class members filed proofs of claim. If the class members could litigate their claims to

trial, the result would be appealed, prolonging the litigation and delaying any recovery. Counsel

for both classes have spent considerable resources litigating these claims in different courts, and

further litigation would increase those costs. The settlement relief, discussed below, is easily found

adequate in these circumstances. This factor favors approval.

                   4.      The Stage of the Proceedings and the Amount of Discovery Completed 8

          The key issue under this factor is whether “the parties and the district court possess ample

information with which to evaluate the merits of the competing positions.” Ayers, 358 F.3d at 369.

“A settlement can be approved under this factor even if the parties have not conducted much formal

discovery.” Klein, 705 F. Supp. 2d at 653 (citation omitted); see also Union Asset Mgmt. Holding

A.G. v. Dell, Inc., 669 F.3d 632, 639 (5th Cir. 2012) (agreeing with district court’s conclusion that



7
    See FED. R. CIV. P. 23(e)(2)(C)(i); Reed, 703 F.2d at 172.
8
    See Reed, 703 F.2d at 172.

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“formal discovery is not a prerequisite to approving a settlement as reasonable”). The

“[s]ufficiency of information does not depend on the amount of formal discovery which has been

taken because other sources of information may be available to show the settlement may be

approved even when little or no formal discovery has been completed.” San Antonio Hispanic

Police Officers’ Org., Inc. v. City of San Antonio, 188 F.R.D. 433, 459 (W.D. Tex. 1999). “The

Court should consider all information which has been available to all parties.” DeHoyos v. Allstate

Corp., 240 F.R.D. 269, 292 (W.D. Tex. 2007).

       The MEC parties did not engage in formal discovery, but MEC class counsel investigated

the claims for a year before filing their complaint. MEC class counsel reviewed Chesapeake’s

operations, production volumes, gas quality analyses, royalty payment methodology and history,

marketing, sales contracts, sales price information, and physical facilities used for gathering and

transporting gas. (Docket Entry No. 46 at ¶¶ 9–11). MEC class counsel also interviewed a

Chesapeake accountant about the royalty calculations and payments. (Id. at ¶ 10). After this initial

investigation, the parties mediated at least six times with Judge Cahn and Richard Schiffrin before

reaching agreement in March 2021. (Id. at ¶¶ 12, 13, 22, 23, 27). Class counsel drew on their

previous experience in similar oil-and-gas class-action litigation. (Id. at ¶¶ 4–6). The MEC parties

have shown that they possessed sufficient information to enable the bankruptcy court and this court

to gauge the strengths and weaknesses of the claims and defenses.

       Non-MEC class counsel also investigated the Non-MEC claims before filing suit. (Docket

Entry 42-1 at ¶¶ 2, 8–10). The Non-MEC class members survived a motion to dismiss and engaged

in discovery, including reviewing over 100,000 pages of documents, deposing a Chesapeake

employee, and soliciting the opinions of oil-and-gas experts. (Id. at ¶ 8). The parties mediated

with Judge Cahn and John Perry on at least five occasions. (Id. at ¶ 9).



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          Class counsel, the bankruptcy court, and this court can determine the settlement’s adequacy

in relation to the probability of success on the merits were this litigation to continue. The court is

well aware of the parties’ positions in this case, the legal issues, and the risks to the Non-MEC

class members should litigation continue. See Stott v. Capital Fin. Servs., Inc., 277 F.R.D. 316,

344 (N.D. Tex. 2011). This factor favors approval of the proposed settlement agreements.

                   5.      The Probability of Success on the Merits 9

          The probability of the plaintiffs’ success on the merits is the most important Reed factor,

“absent fraud and collusion.” Santinac v. Worldwide Labor Support of Ill., Inc., No. 15-CV-25,

2017 WL 1098828, at *3 (S.D. Miss. Mar. 23, 2017) (citing Parker v. Anderson, 667 F.2d 1204,

1209 (5th Cir. Unit A 1982)). This factor relates to the “risks . . . of trial and appeal,” a Rule

23(e)(2) consideration. FED. R. CIV. P. 23(e)(2)(C)(i). “In evaluating the likelihood of success,

the Court must compare the terms of the settlement with the rewards the class would have been

likely to receive following a successful trial.” DeHoyos, 240 F.R.D. at 287 (citing Reed, 703 F.2d

at 172). “This factor favors approving a settlement even when the likelihood of success on the

merits is not certain.” ODonnell, 2019 WL 6219933, at *12 (citing See In re Corrugated Container

Antitrust Litig., 659 F.2d 1322, 1326–27 (5th Cir. Unit A Oct. 1981) (“A district court need not

establish the plaintiffs’ likelihood of prevailing to a certainty.”)).

          Here, only 161 class members filed proofs of claim in the bankruptcy court. The class

members who did not file proofs of claims are effectively hampered, if not unable, to pursue their

individual claims. See 11 U.S.C. § 524(a); Matter of Edgeworth, 993 F.2d 51, 53 (5th Cir. 1993)

(“A discharge in bankruptcy . . . releases the debtor from personal liability for the debt.”). The

bankruptcy plan made clear that late proofs of claim filed after the bar date “shall be deemed



9
    See FED. R. CIV. P. 23(e)(2)(C)(i); Reed, 703 F.2d at 172.

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disallowed and expunged.” (Docket Entry No. 8 at 629, 630). The opt-out notice the class

members received made clear that “all claims . . . against Chesapeake arising before February 9,

2021 have been discharged by the bankruptcy court.” (In re Chesapeake Energy Corp., No. 20-

33233, Docket Entry No. 3175-3 at 4). Roughly 22,824 of the 22,985 class members do not have

remaining claims against Chesapeake. (Docket Entry No. 58-1 at 3). The record shows that the

class settlements are the most practical vehicle for recovery for most of the class members. See

Stott, 277 F.R.D. at 345 (“This settlement at least provides class members with some measure of

recovery, and the Court is of the opinion that the settlement should be approved when the

alternative is no recovery at all.”).

          This factor favors approving the proposed settlement agreements.

                   6.      The Range and Certainty of Recovery 10

          This factor requires the district court to “establish the range of possible damages that could

be recovered at trial, and, then, by evaluating the likelihood of prevailing at trial and other relevant

factors, determine whether the settlement is pegged at a point in the range that is fair to the plaintiff

settlors.” Maher v. Zapata Corp., 714 F.2d 436, 460 (5th Cir. 1983) (quoting In re Corrugated

Container Antitrust Litig., 643 F.2d 195, 213 (5th Cir. Apr. 1981)). “The court must be assured

that the settlement secures an adequate advantage for the class in return for the surrender of

litigation rights against the defendants.” In re Katrina Canal Breaches Litig., 628 F.3d 185, 195

(5th Cir. 2010). This factor “can take into account the challenges to recovery at trial that could

preclude the class from collecting altogether . . . .” Klein, 705 F. Supp. 2d at 656. This factor also

examines whether the defendant has “the financial means to pay a greater judgment than the




10
     See FED. R. CIV. P. 23(e)(2)(C)(i); Reed, 703 F.2d at 172.

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settlement agreement.” Jones v. Singing River Health Servs. Found., 865 F.3d 285, 296–97 (5th

Cir. 2017).

       Settlements have been considered fair when “there would be almost insurmountable

problems collecting any judgment against the Settling Defendants” due to their “financial

insolvency.” Newby, 394 F.3d at 302. The question is not whether the parties have reached

“exactly the remedy they would have asked the Court to enter absent the settlement,” but instead

“whether the settlement’s terms fall within a reasonable range of recovery, given the likelihood of

the plaintiffs’ success on the merits.” Id. (quoting Frew v. Hawkins, No. 93-CV-065, 2007 WL

2667985, at *6 (E.D. Tex. Sept. 5, 2007); Turner v. Murphy Oil USA, Inc., 42 F. Supp. 2d 830,

849–50 (E.D. La. 2007)).

       The lowest band of recovery for the MEC and Non-MEC class is no recovery at all—a

foreseeable, and perhaps likely, result for all of the class members except the 161 who filed proofs

of claim. See ODonnell, 2019 WL 6219933, at *13 (“The lowest band is no recovery, after all

legal challenges.”). The middle upper bands are contested. The MEC settlement gives the class

members the option, each month, to have their royalties calculated using the higher of the in-basin

index price or the netback price. (Docket Entry No. 8 at 1268). The class members’ royalties were

calculated using the netback price before the lawsuit. (Id.). The objectors argue that the higher-

of-the-royalties option is not as valuable as the prior Demchak settlement.

       The settling parties relied on an opinion by Oscar Hartman, an accountant hired to value

the higher-of-the-royalties option. Hartman’s estimates were based on each production month

from January 2017 to August 2020. (Docket Entry No. 46-12 at 3). For each of the months,

Hartman determined the higher of the in-basin index and netback price, and then calculated the

royalty payments to the MEC class members. (Id.). He determined that royalty payments to the



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MEC class members would have increased over that period by a total of $34,435,220. (Id.). The

yearly increase during that period would have been $9,391,424, and the monthly increase would

have been $782,618. (Id.).

          Hartman used these calculations to estimate the future value of the higher-of-the-royalties

option.     He calculated two different values.     For the first, he assumed that Chesapeake’s

“production volumes, prices, and post-production costs” would remain “materially the same” over

the next ten years, which gave the option a ten-year value of $86,974,280. (Id.). For the second,

he assumed a five percent decrease per year in Chesapeake’s royalty payments, which reduced the

option’s value to $65,980,218. (Id.). He used the same assumptions to produce his five-year

option values: $45,192,020 and $39,710,999. (Id.). He discounted his estimates to present value

using a 1.57% discount rate, the interest rate on a 10-year U.S. Treasury note. (Id. at 4).

                 Hartman’s Valuation of the Higher-Of Royalty Option

             5-Year Net Present Value                        10-Year Net Present Value

             $45,192,020 – $39,710,999                        $86,974,280 – $65,980,218

          The objector’s economist, John C. Tysseling, argues that Hartman’s calculations are flawed

for five reasons. He did not value the injunctive relief himself.

          First, Tysseling argues that Hartman did not make clear how royalties were calculated in

the baseline period. (Docket Entry No. 53-2 at 5). Without clarifying baseline royalty calculations,

Tysseling argues, Hartman could not compare the estimated royalty payments with the class

members’ past royalty payments.

          This argument is not persuasive because Hartman’s baseline for comparison was the class

members’ past royalty payments, which incorporate the past royalty payment methodology and

past production levels. As Hartman made clear, the class members previously calculated their


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royalties using the netback method. Hartman’s estimates are based on the same production levels

that yielded the past netback royalties. He took those production levels and multiplied them by

the in-basin index price or the netback price, whichever was higher during the periods. He

estimated that the higher-of-the-royalties option would have increased the MEC class members’

royalty payments by $34,435,220 from January 2017 to August 2020.

       Second, Tysseling argues that the prior Demchak settlement, which allowed Chesapeake

to deduct 66%, rather than 100%, of its postproduction costs would provide a higher benefit to the

class members than the higher-of-the-royalties option. (Docket Entry No. 53-2 at 6). While

Hartman did not compare the Demchak 66% deduction method to the higher-of-the-royalties

method, Angela Paslay, another accountant for the settling parties, compared both. Paslay

estimated that, from January 2017 to August 2020, the 66% deduction method would have

increased the MEC class members’ royalties by $9.5 million. (Docket Entry No. 59 at 18). The

higher-of-the-royalties method would have increased them by roughly $34.4 million, or $24.9

million more than the 66% deduction method. (Id.).

       Tysseling’s third argument is that Hartman should have, but did not, analyze whether the

“market conditions” during his baseline period were “typical.” (Docket Entry No. 53-2 at 8).

Fourth, Tysseling argues that Hartman’s 5% decline rate does not have factual support. (Id.). He

argues that oil-and-gas production in the Marcellus Formation declined in 2020 and prices have

generally been flat or declined in recent years. (Id.). He admits in a footnote, however, that

production began increasing in December 2020. (Id. at 8 n.8).

       Neither of these arguments is persuasive. The MEC injunctive relief is meant to provide

higher royalty payments than the previous netback method. Hartman has shown, and Tysseling

does not contest, that the higher-of-the-royalties method produces higher royalties than the netback



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method and the 66% deduction method. Even if oil production or prices decline in the Marcellus

Formation, the higher-of-the-royalties method will produce the highest royalties.

          It is also unclear that oil prices are declining, as assumed, in the Marcellus Formation.

Tysseling argues that prices declined in 2020, but the COVID-19 pandemic made 2020 an

anomaly. The U.S. Department of Energy report that Tysseling cites as support for a steady decline

in Marcellus Formation oil prices does not show a steady price decline, but rather, at most, volatile

prices.

          Fifth, Tysseling argues that Hartman’s discount rate is too low because the natural-gas

market is volatile. (Id. at 10). He argues that a discount rate between 10% and 15% is more

appropriate. Using the lower discount rate reduces Hartman’s 10-year net present-value estimate

to a range from $49,575,730 to $42,216,165. (Id.). Even if Tysseling is correct that a higher

discount rate is appropriate, the injunctive relief still results in a large increase in royalties to the

MEC class members over the netback method and 66% deduction method.

          Based on the opinions of both economists, the court finds that the middle-band value of the

injunctive relief over the next 10 years ranges from $49,575,730 to $42,216,165. The upper band

range across 10 years is $86,974,280 to $65,980,218. Both are improvements over the netback

method and the previous settlement’s 66% deduction method.

          The non-MEC settlement provides similar benefits to the class members. The Non-MEC

settlement allows the Non-MEC class members to base their future royalties on the in-basin index

price, which is calculated without deducting the allegedly inflated postproduction costs that

sparked the initial lawsuit. The increase in royalties that Hartman predicted for the MEC class

members resulted from higher in-basin index prices than the netback prices. While the Non-MEC




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class did not provide an economic analysis of the value of the injunctive relief, Hartman’s analysis

suggests that it will benefit the Non-MEC class members in a similar way.

          The objectors also argue that the monetary settlement is too low. Counsel for the MEC

and Non-MEC classes both argued that the recovery was the best they can expect, given the

circumstances. See Stott, 277 F.R.D. at 346 (“[C]lass counsel has informed the Court that the

amount contemplated by this settlement was simply the most that counsel could gather for the class

from [the defendant].”). While it is true that the class members will receive less in cash than they

would have under the class settlement before the Middle District of Pennsylvania, the record shows

that Chesapeake’s intervening bankruptcy reduced the cash available to pay the class members.

See id. at 345 (“[I]f this litigation were to continue and the class was to emerge victorious, they

would possess a judgment worth millions with no one to collect it from.”). Class counsel and

counsel for Chesapeake made clear at oral argument that these amounts will be paid immediately

to the class members, removing the delays and uncertainties of continued litigation, including

appeals. The reduced cash is offset by the increased injunctive relief.

          This factor favors approval of the proposed settlement agreements.

                  7.      The Opinions of the Participants, Including Class Counsel, Class
                          Representatives, and the Absent Class Members 11

          “The endorsement of class counsel is entitled to deference, especially in light of class

counsel’s significant experience in complex civil litigation and their lengthy opportunity to

evaluate the merits of the claims.” DeHoyos, 240 F.R.D. at 292; see also Stott, 277 F.R.D. at 346

(“As class counsel tend[ ] to be the most familiar with the intricacies of a class action lawsuit and

settlement, ‘the trial court is entitled to rely upon the judgment of experienced counsel for the




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     See Reed, 703 F.2d at 172.

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parties.’” (quoting Cotton, 559 F.2d at 1330)). A court may not simply defer to class counsel’s

opinion. “Rather, the Court must give class counsel’s recommendations appropriate weight in

light of all the factors surrounding the settlement.” Turner, 472 F. Supp. 2d at 852.

          Counsel for the MEC and Non-MEC classes strongly support the proposed settlements.

The Pennsylvania Attorney General, the named plaintiffs, and the absent class members support

the settlements. (Docket Entry No. 41 at 26; Docket Entry No. 37 at 12). Only two class members

objected to the Non-MEC settlement, and 134 class members opted out. (Docket Entry No. 46 at

27). Only one class member objected to the MEC settlement, and 283 class members, roughly

three percent of the MEC class, opted out. See In re Oil Spill by Oil Rig Deepwater Horizon, 910

F. Supp. 2d at 938 (collecting cases approving settlements with opt-out rates higher than 15% of

the class).

          This factor favors approving the proposed settlements.

                   8.      Whether the Proposal Treats Class Members Equitably in Relation to
                           Each Other 12

          Class members are entitled to the same equitable relief. See Hays v. Eaton Grp. Att’ys,

LLC, No. 17-CV-88, 2019 WL 427331, at *13 (M.D. La. Feb. 4, 2019) (the equitable-treatment

factor was “easily met as each class member, save the Class representative, will receive the same

amount”). The MEC class members are given the higher-of-the-royalties option and pro-rata cash

payments based on their lease production levels. The Non-MEC class members may choose

whether to calculate their future royalties based on the in-basin index price or the netback price.

The Non-MEC class members will also receive pro-rata cash payments. This factor supports

approving the proposed settlements.




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     See FED. R. CIV. P. 23(e)(2)(D).

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       F.      Conclusion of the Rule 23(a), Rule 23(b), and Rule 23(e) Factors

       The proposed classes meet the Rule 23(a) and Rule 23(b) requirements for certification as

settlement-only damages class actions. The motions for class certification for settlement are

granted.

       The Rule 23(e) factors and the Reed factors favor approving the proposed settlements. The

court concludes that the proposed settlements are fair, reasonable, and adequate under Rule 23(e).

The terms are approved.

       G.      The Objections to the Class Notice

       “There are no rigid rules to determine whether a settlement notice satisfies constitutional

or Rule 23(e) requirements.” Wal–Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 114 (2d Cir.

2005). Instead, “a settlement notice need only satisfy the broad reasonableness standards imposed

by due process.” In re Katrina Canal Breaches Litig., 628 F.3d at 197 (quotation marks omitted).

Due process is satisfied if the notice provides class members with the “information reasonably

necessary for them to make a decision whether to object to the settlement.” Id.; see also Wal-Mart

Stores, 396 F.3d at 114 (“[T]he settlement notice must fairly apprise the prospective members of

the class of the terms of the proposed settlement and of the options that are open to them in

connection with the proceedings” (internal quotation marks omitted)); AGGREGATE LITIGATION §

3.04(a) (“The purpose of a notice of a proposed class settlement is to set forth the major contours

of the proposal and to inform class members of their right to attend the fairness hearing and to

lodge written objections by a prescribed date should they so desire.”).

               1.     The Contents of the Class Notice

       The objectors argue that the contents of the MEC and Non-MEC class notice did not

comply with Rule 23(c)(2)(B), which outlines what must be included in notices sent to members



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of a damages class. Rule 23(c)(2)(B) states that notice must clearly and concisely state in plain,

easily understood language:

       (i) the nature of the action;

       (ii) the definition of the class certified;

       (iii) the class claims, issues, or defenses;

       (iv) that a class member may enter an appearance through an attorney if the member
       so desires;

       (v) that the court will exclude from the class any member who requests exclusion;

       (vi) the time and manner for requesting exclusion; and

       (vii) the binding effect of a class judgment on members under Rule 23(c)(3).

FED. R. CIV. P. 23(c)(2)(B).

       The notice sent to the absent MEC and Non-MEC class members was the best notice

practicable under the circumstances, as required under Rule 23(e)(1). The notice, sent directly to

each MEC and Non-MEC class member, outlined the nature of the case, the definition of the

proposed class, and the claims at issue. (In re Chesapeake Energy Corp., No. 20-33233, Docket

Entry No. 3175-3). The notice informed the class members that they could enter an appearance

through an attorney and request to be excluded from the class. The notice explained the time and

manner for requesting exclusion and the binding effect of the class settlement under Rule 23(c)(3).

The language was clear and easily understood.

               2.      The Opt-Out Procedures

       The objectors argue that the MEC and Non-MEC opt-out procedures are unduly

burdensome. The MEC settlement notice requires a class member wishing to opt out to “send a

letter personally signed by you that includes all of the following: (1) Your name, address, and

telephone number; (2) Your Chesapeake owner number (if you know it); (3) The following Civil

Action Number: 20-33233; and (4) A statement that you want to be excluded from the Settlement
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Class.” (In re Chesapeake Energy Corp., No. 20-33233, Docket Entry No. 3175-3). Class

members must mail the letters “first class, postage pre-paid” to the settlement administrator. (Id.).

The objectors argue that these are unduly burdensome because they: (1) required “wet ink”

signatures, (2) required opters-out to mail their opt-out notice, and (3) restricted group out-outs.

       The MEC class contains 8,925 landowners and has had 283 opt-outs. (Docket Entry No.

58-1 at 3). The Non-MEC class has 14,060 landowners and has had 134 opt-outs. (Id.). The opt-

out requirements were the same for both classes. Nearly 400 class members did not find it unduly

burdensome to opt out of the class settlements.

       “Wet ink signatures” are not unduly burdensome.             It is a “common and practical

requirement” “that an opt out be signed by the class member . . . to ensure . . . express consent.”

In re Deepwater Horizon, 819 F.3d 190, 197 (5th Cir. 2016); see also 7AA Charles Alan Wright

& Arthur R. Miller, Federal Practice & Procedure, § 1787 (3d ed. 2021) (“It certainly would be

an undue burden on class members to require them to retain counsel and prepare a formal legal

document; on the other hand, allowing too much informality might pose problems of authenticity

and ambiguity.”).

       Mailing a request to opt-out is not unduly burdensome. See McDonough v. Toys R Us,

Inc., 80 F. Supp. 3d 626, 641 (E.D. Pa. 2015) (“Mailing a request is not unreasonably

burdensome.”); Murphy v. HRB Green Res., LLC, No. 16-CV-04151, 2016 WL 11527027, at *5

(N.D. Cal. Oct. 14, 2016) (opting out through overnight mail was not unduly burdensome);

MANUAL FOR COMPLEX LITIGATION (FOURTH) § 21.321 (2004) (“Typically, opt-out forms are filed

with the clerk, although in large class actions the court can arrange for a special mailing address

and designate an administrator retained by counsel and accountable to the court to assume

responsibility for receiving, time-stamping, tabulating, and entering into a database the



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information from responses.”).      While some courts have found ink signature and mailing

requirements burdensome in so-called negative value classes, with little benefit to individual class

members, courts routinely approve ink signature and mailing requirements when, as here, the

settlement provides individual class members with substantial benefits. See Arena v. Intuit Inc.,

No. 19-CV-02546, 2021 WL 834253, at *10 (N.D. Cal. Mar. 5, 2021) (collecting cases that

approved ink signature and mail-in requirements when those opting out would give up thousands

of dollars).

        Group opt-outs are disfavored, and individual opt-out requirements are not unduly

burdensome. See 3 NEWBERG ON CLASS ACTIONS § 9:49 (5th ed. 2021) (“The right to opt out in a

Rule 23(b)(3) class action is considered an individual right. Practically, this means that a plaintiff

who chooses to opt out herself may not also opt out a group en masse without the express consent

of each individual.”); Hanlon v. Chrysler Corp., 150 F.3d 1011, 1024 (9th Cir. 1998) (permitting

exclusions en masse “would infringe on the due process rights of the individual class members,

who have the right to intelligently and individually choose whether to continue in a suit as class

members”).

               3.      The Due Process Challenge to the Second Opt-Out Requirement

        Rule 23(c)(2) codifies the constitutional opt-out requirement and requires courts to “direct

to class members the best notice that is practicable under the circumstances.” Rule 23(e)(4) gives

courts discretion whether to allow a second opt-out period.

        The Advisory Committee notes to the 2003 amendments to Rule 23 state:

        Rule 23(e)(3) [now (e)(4)] authorizes the court to refuse to approve a settlement
        unless the settlement affords a new opportunity to elect exclusion in a case that
        settles after a certification decision if the earlier opportunity to elect exclusion
        provided with the certification notice has expired by the time of the settlement
        notice. A decision to remain in the class is likely to be more carefully considered
        and is better informed when settlement terms are known.


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FED. R. CIV. P. 23(e)(4) Committee Note (2003).

       The objectors argue that the MEC settlement violates the due-process rights of the class

members who opted out of the Demchak class. While the MEC class was pending in the Middle

District of Pennsylvania, that court preliminarily approved a settlement class, authorizing notice

to the class members. Roughly 20% of the class opted out. (Docket Entry No. 50-2). The objectors

argue that the court should not require a second opt-out because executing two opt-outs is unduly

burdensome.

       The bankruptcy court correctly required a second opt-out from those who previously opted

out. Roughly 20% of the class members opted out of the original Demchak settlement. (Docket

Entry No. 50-2). The record does not show that any of these class members decided to pursue

individual litigation and arbitration. But then, six years after the initial Demchak settlement

agreement, Chesapeake declared bankruptcy and the Demchak litigation moved to the Southern

District of Texas bankruptcy court. The bankruptcy court sent notice to the Demchak class

members, notifying them that their claims would be extinguished if they did not file timely proofs

of claim. Only 161 class members filed proofs of claim in the bankruptcy court. The parties then

entered into a new agreement, the MEC settlement agreement, which the bankruptcy court

preliminarily approved. The opt-out notice for the MEC settlement sent from the bankruptcy court

made clear that “all claims . . . against Chesapeake arising before February 9, 2021 have been

discharged by the bankruptcy court.” (In re Chesapeake Energy Corp., No. 20-33233, Docket

Entry No. 3175-3 at 4). Roughly 22,824 of the 22,985 class members do not have remaining

claims against Chesapeake.




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        The cases take divergent approaches, with some courts finding that a second opt-out is

burdensome or not required, and others suggesting that it is required if a settlement agreement is

materially altered after the first opportunity to opt out.

        The objectors point to one case in which a court found that requiring class members to opt

out two times was unduly burdensome. See Olden v. LaFarge Corp., 472 F. Supp. 2d 922, 935

(E.D. Mich. 2007). In LaFarge, the court preliminarily certified a class and directed notice to the

class members, 429 of whom opted out. Id. at 926. Several years later, the parties reached a

proposed class settlement. Id. at 927. The proposed settlement required a new opt-out and forced

all class members back into the litigation, even those who previously had opted out. Id. at 935.

The court found that requiring a second opt-out adversely affected the fairness, reasonableness,

and adequacy of the settlement because requiring individuals to twice voice their desire to be

excluded was “unfair.” Id. The opportunity to opt out was not meaningful if the original request

for exclusion could be voided by the subsequent settlement agreement. Id.

        Other courts have found that a second round of opt-out notice is unnecessary when an

amended settlement is different but only because it provides additional benefits to the class

members. See, e.g., Klee v. Nissan N. Am., Inc., 12-CV-08238, 2015 WL 4538426, at *5 (C.D.

Cal. July 7, 2015) (not requiring a second opportunity to opt out for an amended settlement

agreement that was more beneficial to the class members because it was “unlikely that a class

member who chose not to opt out of the original settlement would choose to opt out of the amended

settlement.”); Denney v. Deutsche Bank AG, 443 F.3d 253, 270 (2d Cir. 2006) (“Neither due

process nor Rule 23(e)(3) requires, however, a second opt-out period whenever the final terms

change after the initial opt-out period.”); In re Prudential Ins. Co. of Am. Sales Practices Litig.,

962 F. Supp. 450, 473 n.10 (D.N.J. 1997) (a new notice and opportunity to opt-out was not required



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when amendments to the earlier settlement agreement enhanced the benefits to the class), aff’d,

148 F.3d 283 (3d Cir. 1998); In re Diet Drugs, MDL 1203, 2000 WL 1346904, at *4 (E.D. Pa.

Aug. 16, 2000) (approving, after the opt-out period ended, an amended settlement agreement that

added benefits to the class members). These courts, however, have presumed that the new notice

period would only target those who previously did not opt out.

       Other courts take a different approach. One court suggested in a footnote that “imposition

of a materially different settlement” might require the court to reinstate the “class members’ initial

opt-out rights,” but then found that the amended settlement agreement did not “materially alter”

the agreement. In re Diet Drugs Prod. Liab. Litig., 93 F. App’x 338, 343 n.7 (3d Cir. 2004)

(“[A]ppellants claim that the District Court’s approval of the Fifth Amendment amounted to

imposition of a materially different settlement, necessitating the reinstatement of class members’

initial opt-out rights. Appellants are mistaken. The Fifth Amendment did not materially alter the

Settlement Agreement. Rather, the amendment merely corrected an unexpected prejudice to some

class members that arose after the Settlement Agreement was approved.”). Another court took a

similar approach and directed notice to class members “who originally opted out of the class

action” because the “new Settlement provided an increased recovery to the Settlement Class.”

Izzio v. Century Golf Partners Mgmt., L.P., 14-CV-03194, 2019 WL 10589568, at *8 (N.D. Tex.

Feb. 13, 2019), aff’d, 787 F. App’x 242 (5th Cir. 2019).

       The right to opt out is meant to protect a class member’s right to “litigate it on his own.”

Shutts, 472 U.S. at 813. Only 161 class members—the ones who filed proofs of claim—are likely

to be able to pursue their claims against Chesapeake. The class members who did not file proofs

of claims can no longer pursue their individual claims. See Matter of Edgeworth, 993 F.2d at 53.

A new round of notice and opportunity to opt out were necessary to ensure that the class members



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understood that their prebankruptcy claims were extinguished. The parties had entered into a new

agreement, in a new court, with new terms, and new, harsher consequences for opting out. The

Demchak opt-out period demonstrated that the MEC class members knew how to exercise the right

to opt out. And during the second round of notice, when presented with the new settlement

agreement and notified that their claims were likely extinguished by Chesapeake’s bankruptcy,

only 397 class members opted out. 13

        The notice sent from the bankruptcy court did not violate due process.

        H.      Attorneys’ Fees

        The MEC and Non-MEC class counsel request attorneys’ fees and costs. MEC class

counsel requests $2 million; Non-MEC class counsel requests $412,500. (Docket Entry No. 45 at

16; Docket Entry No. 43 at 9).

        Rule 23(h) authorizes a district court to “award reasonable attorney’s fees and nontaxable

costs that are authorized by law or by the parties' agreement.” FED. R. CIV. P. 23(h). The “claim

for an award must be made by motion under Rule 54(d)(2),” and a “class member, or a party from

whom payment is sought, may object.” FED. R. CIV. P. 23(h)(1)–(2). The court “must find the

facts and state its legal conclusions under Rule 52(a).” FED. R. CIV. P. 23(h)(3)

        Courts in this circuit “have encouraged litigants to resolve fee issues by agreement, if

possible.” DeHoyos, 240 F.R.D. at 322. A court is not bound by the parties’ agreement or fees.

Strong v. BellSouth Telecomms., Inc., 137 F.3d 844, 849 (5th Cir. 1998) (quotation marks omitted).

The court must carefully review a proposed fee award to ensure reasonableness. See id. This



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   The objectors argue that the smaller number of opt-outs shows that many class members did not believe
they needed to opt out a second time. The court disagrees. If those opting out wanted to individually
litigate their claims, they would have initiated individual lawsuits or filed proofs of claim. Few did. A
more likely explanation is that those opting out recognized that they would collect little, if anything, from
an entity in bankruptcy.

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scrutiny is necessary to “guard[ ] against the public perception that attorneys exploit the class

action device to obtain large fees at the expense of the class.” In re High Sulfur Content Gasoline

Prods. Liab. Litig., 517 F.3d 220, 228 (5th Cir. 2008) (quotation marks omitted).

       The Fifth Circuit gives “district courts the flexibility to choose between the percentage and

lodestar methods in common fund cases.” Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d

632, 644 (5th Cir. 2012). Under the lodestar method, the court “must first determine the reasonable

number of hours expended on the litigation and the reasonable hourly rate for the participating

attorney.” Sulfur, 517 F.3d at 228. “The lodestar is then computed by multiplying the number of

hours reasonably expended by the reasonable hourly rate.” Id.

       After using the percentage or lodestar method, district courts must cross-check “their

analyses under either approach [with] the Johnson considerations.” Union Asset Mgmt. Holding

A.G., 669 F.3d at 644. The twelve Johnson factors are:

       (1) the time and labor required; (2) the novelty and difficulty of the issues; (3) the
       skill required to perform the legal service adequately; (4) the preclusion of other
       employment by the attorney because he accepted this case; (5) the customary fee
       for similar work in the community; (6) whether the fee is fixed or contingent; (7)
       time limitations imposed by the client or the circumstances; (8) the amount
       involved and the results obtained; (9) the experience, reputation, and ability of the
       attorneys; (10) the undesirability of the case; (11) the nature and length of the
       professional relationship with the client; and (12) awards in similar cases.

Id. at 642 n.25 (5th Cir. 2012) (citing Johnson, 488 F.2d at 717–19).

       The court “must explain how each of the Johnson factors affects its award.” Sulfur, 517

F.3d at 228. The explanation “need not be meticulously detailed to survive appellate review.” Id.

(quoting Forbush v. J.C. Penney Co., 98 F.3d 817, 823 (5th Cir. 1996)). After reviewing the

twelve factors, “the court may then apply a multiplier to the lodestar, adjusting the lodestar either

upward or downward.” Strong, 137 F.3d at 850. There is a “strong presumption” that the lodestar




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number is reasonable. Ransom v. M. Patel Enters., Inc., 734 F.3d 377, 388 n.17 (5th Cir. 2013).

The court’s fee award is reviewed for abuse of discretion. Strong, 137 F.3d at 850.

               1.      The Lodestar and Percentage Cross-Check

       MEC class counsel request $2 million in attorneys’ fees. MEC class counsel spent 3,701.2

hours prosecuting this case. Daniel Coker Horton and Bell, P.A. billed 1,286.3 hours; Cuneo

Gilbert and LaDuca, LLP billed 545 hours; Levin Sedran and Berman billed 422.5 hours; the

O’Brien Law Group LLC billed 596.7 hours; Barrett Law Group billed 169.8 hours; and Lieff,

Cabraser, Heimann and Bernstein, LLP billed 680.9 hours. (Docket Entry No. 46 at ¶¶ 30–31).

MEC class counsel’s total lodestar fee is $2,942,851. (Id. at ¶ 31). Counsel for the Burkett

intervenors billed 4,782.6 hours on this litigation, for a lodestar fee of $1,830,825. (Id. at ¶ 32).

Together, MEC class counsel and counsel for the Burkett intervenors billed 8,483.8 hours, for a

total lodestar of $4,773,676, and have agreed to split the fee approved by this court. (Id. at ¶ 33).

The attorneys and paralegal working on the case had billable hourly rates ranging from $1,250 to

$125. (Docket Entry Nos. 46-1, 46-3, 46-4, 46-5, 46-6, 46-7, 46-8, 46-9, 46-10, 46-11).

       MEC class counsel asks for $2 million in fees. The number of hours MEC class counsel

worked to prosecute this litigation is reasonable. As discussed above, it has been pending since

2013. MEC class counsel conducted prefiling and postfiling discovery, attended numerous

mediations, survived Chesapeake’s bankruptcy proceedings and intervention by the Burketts and

Pennsylvania Attorney General, and dealt with objectors and an appellate challenge. (Docket

Entry No. 46 at ¶¶ 7–27).

       Non-MEC class counsel seek $412,500 in fees, a fraction of the lodestar amount. Non-

MEC class counsel spent a total of 12,251 hours working on this case. Kessler Topaz Meltzer and

Check, LLP billed 9,561.79 hours; Axler Godlich billed 155.80 hours; Donovan Litigation Group

billed 1,628.45 hours; and McCann Dillon Jaffe and Lamb billed 905.50 hours. (Docket Entry
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No. 43-1 at 9). The attorneys and paralegal working on the case had billable hourly rates ranging

from $950 to $250. (Id. at 11, 25). The total lodestar fee is $6,081,838.

        The number of hours Non-MEC class counsel worked in prosecuting this case, while high,

is reasonable. See Cole, 2018 WL 2766028, at *13 (“While the number of hours expended is high,

the amount is reasonable in light of the significant time required to effectively litigate this action.”).

This case has been pending since 2014, progressing through prefiling investigation, extensive

discovery, numerous mediations, dispositive motions, intervention by the Pennsylvania Attorney

General, and Chesapeake’s bankruptcy proceedings. (Docket Entry No. 43 at 14).

        MEC and Non-MEC class counsel also presented evidence that the hourly rates used were

reasonable. “An attorney’s requested hourly rate is prima facie reasonable when he requests that

the lodestar be computed at his or her customary billing rate, the rate is within the range of

prevailing market rates[,] and the rate is not contested.” Altier v. Worley Catastrophe Response,

LLC, Nos. 11-241, 11-242, 2012 WL 161824, at *22 (E.D. La. Jan. 18, 2012) (citing La. Power &

Light Co. v. Kellstrom, 50 F.3d 319, 328 (5th Cir. 1995)). The rates range from $1,250 for an

attorney to $125 for a paralegal. Similar rates have been approved in other cases, (Docket Entry

No. 43 at 14–15; Docket Entry No. 46 at ¶ 30), and the objectors do not challenge them.

        Non-MEC class counsel requested only $412,500 of the $6,081,838 lodestar fee.

Additional support for finding reasonableness is that this represents a downward adjustment of .07

from the lodestar amount. MEC class counsel requested $2 million, which represents a downward

multiplier of 0.42.

        The percentage method confirms that the fees sought are reasonable. $412,500 is 33% of

the $1,250,000 Non-MEC common fund. Taking the $5,000,000 cash payment and the lowest

proposed value of the injunctive relief—$42,216,165—$2 million is less than 5% of the common



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fund. See, e.g., Erica P. John Fund, Inc. v. Halliburton Co., 2018 WL 1942227, at *9 (N.D. Tex.

Apr. 25, 2018) (collecting cases and concluding that “numerous courts in this Circuit have awarded

fees in the 30% to 36% range”).

        The requested fees are reasonable under the lodestar and percentage methods. 14

                2.      The Johnson Factors

        The first factor is the time and labor required. ODonnell, 2019 WL 6219933, at *25. These

cases are both nearly eight years old. The parties have proceeded in two different courts, faced

challenges from several third parties, mediated numerous times with experienced former judges

and mediators, and survived one appellate challenge. (Docket Entry No. 45 at 24; Docket Entry

No. 43 at 10–11). The efforts described by counsel for the MEC and Non-MEC classes support

the requested fees.

        The second factor is the novelty and difficulty of the issues. MEC and Non-MEC class

counsel correctly argue that these cases presented complex legal issues that required litigating

threshold issues of arbitrability, retaining experts on gas marketability, certifying a class, pursuing

claims against a bankrupt defendant, and competing with intervenors, including the Burketts and

the Pennsylvania Attorney General, who initiated competing litigations. (Docket Entry No. 45 at

24; Docket Entry No. 43 at 10–11). This factor favors the requested fees.

        The third factor is the skill required to prosecute the claims. This factor is satisfied when

“counsel performed diligently and skillfully, achieving a speedy and fair settlement, distinguished

by the use of informal discovery and cooperative investigation to provide the information

necessary to analyze the case and reach a resolution.” King v. United SA Fed. Credit Union, 744




14
  The objectors argue that class counsel did not create a benefit for the class members. The court addressed
this argument when discussing the range of recovery under the Reed factors.

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F. Supp. 2d 607, 614 (W.D. Tex. 2010) (quoting Di Giacomo v. Plains All Am. Pipeline, Nos. H-

99-4137, H-99-4212, 2001 WL 34633373, at *12 (S.D. Tex. Dec. 19, 2001)). While the MEC

class did not proceed to “formal discovery” or “dispositive motions,” In re Heartland, 851 F. Supp.

2d at 1083, the legal and factual complexities required MEC class counsel to exercise a high degree

of skill to conduct the extensive investigation and informal discovery, survive challenges from the

Burketts and the Pennsylvania Attorney General, litigate in different courts, defend against

objectors and an interlocutory appeal, navigate the bankruptcy process, and recover from a

bankrupt defendant. Non-MEC class counsel did all this, engaged in formal discovery, and

survived dispositive motions. MEC and Non-MEC class counsel faced attorneys with similarly

excellent credentials and experience. See Schwartz, 2005 WL 3148350, at *30 (“The ability of

Plaintiff’s Counsel to obtain such a favorable settlement for the Class in the face of such formidable

legal opposition confirms the superior quality of their representation.”). This factor favors the

requested attorneys’ fees.

       The fourth factor asks whether litigating this case precluded class counsel from other

employment. Counsel the MEC and Non-MEC classes prosecuted these cases on a contingent

basis. MEC class counsel devoted over 8,483 hours, and Non-MEC counsel approximately 12,251

hours. These hours, while spread over nearly eight years and across several law firms, precluded

counsel for both classes from other employment.

       The fifth factor requires the court to analyze customary fees for similar work in the

community. As discussed above, the hourly rates for MEC and Non-MEC class counsel were

reasonable, and the total requested fees are reasonable under the percentage method.

       Under the sixth factor, the court evaluates class counsel’s fee arrangement. MEC and Non-

MEC class counsel worked on a contingent basis. (Docket Entry No. 45 at 25; Docket Entry No.



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43 at 19–20); see Schwartz v. TXU Corp., No. 3:02-CV-2243-K, 2005 WL 3148350, at *31 (N.D.

Tex. Nov. 8, 2005) (“Courts have consistently recognized that the risk of receiving little or no

recovery is a major factor in considering an award of attorneys’ fees.”).

       The seventh factor looks to the time limitations the circumstances imposed. This factor is

not relevant here. See Erica P. John Fund, Inc., 2018 WL 1942227, at *11 (“This factor does not

apply in this case because there is no indication that Lead Plaintiff imposed any time limits in the

prosecution of this case.”); see also In re Combustion, Inc., 968 F. Supp. at 1135 (“Even though it

is apparent that the Johnson factors must be addressed to ensure that the resulting fee is reasonable,

not every factor need be necessarily considered.”).

       The eighth factor, the amounts involved and the results obtained, are “the most critical . . .

in determining the reasonableness of a fee award.” Migis v. Pearle Vision, Inc., 135 F.3d 1041,

1047 (5th Cir. 1998)); Heartland, 851 F. Supp. 2d at 1085 (citing Farrar v. Hobby, 506 U.S. 103,

114 (1992)). Class counsel have achieved beneficial results for their class clients. The MEC class

members will promptly receive $5,000,000, and the Non-MEC class members will receive

$1,250,000. Members from both classes will also receive an additional $5,300,000 from the

Pennsylvania Attorney General settlement. The injunctive relief will also provide benefits to both

classes. This factor supports the requested fee.

       The ninth factor, class counsel’s experience, reputation, and ability, supports approving the

requested award. The experience and reputation of class counsel are “clear and unquestioned.”

See Heartland, 851 F. Supp. 2d at 1085. The court commends the lawyering shown by all counsel,

for all the parties, throughout the years of vigorous litigation.

       The tenth factor evaluates the “undesirability” of the case. This is closely related to class

counsel’s fee arrangement. Class actions carry “elevated risks” that can make them undesirable.



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Schwartz, 2005 WL 3148350, at *33. Litigating an expensive case involving a “well-financed

corporate [defendant] on a contingent fee” can also make a case undesirable. Erica P. John Fund,

Inc., 2018 WL 1942227, at *12 (citation and quotation marks omitted). This factor supports the

requested fee.

       The eleventh factor looks to the length and nature of the relationship between class counsel

and their clients. Class counsel ably represented the named class representatives for nearly eight

years. Id. at *12 (serving as class counsel for “more than a decade” weighed in favor of the

proposed fee). The proposed settlements, a result of class counsel’s skillful advocacy, will greatly

benefit Pennsylvania leaseholders.

       The final factor, a review of awards in similar cases, strongly favors holding that the

claimed fees are reasonable. Courts routinely approve similar percentage awards in complex class-

action cases. See Al’s Pals Pet Care v. Woodforest Nat’l Bank, NA, No. 4:17-CV-3852, 2019 WL

387409, at *4 (S.D. Tex. Jan. 30, 2019) (collecting cases awarding over 30% in common fund

class action settlements).

       The Johnson factors confirm the reasonableness of the fee award. Class counsel have asked

the court to decrease, not increase, the lodestar. The record, with the “strong presumption” that

the lodestar amount is reasonable, and the voluntary downward multiplier, presents no grounds to

decrease or increase the requested fees. See Ransom, 734 F.3d at 388 n.17.

       I.        Costs

       MEC class counsel request $292,362.33 for the costs expended in this action. (Docket

Entry No. 45 at 26–27). Non-MEC class counsel request $182,812 for costs. (Docket Entry No.

44 at 22).




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         “In addition to being entitled to reasonable attorneys’ fees, class counsel in common fund

cases are also entitled to reasonable litigation expenses from that fund.” Heartland, 851 F. Supp.

2d at 1089 (quoting Radosti v. Envision EMI, LLC, 760 F. Supp. 2d 73, 79 (D.D.C. 2011)). Courts

have approved requested costs when class counsel provided documents showing the costs, the

court found the costs to be typical, and no class member or defendant objected. Heartland, 851 F.

Supp. 2d at 1089 (citing Radosti, 760 F. Supp. 2d at 79). Those circumstances are present here.

MEC and Non-MEC class counsel documented the costs and there are no objections. The court

has carefully reviewed those costs and finds them appropriate for a case of this nature. The costs

requested are reasonable and approved.

         J.     Incentive Awards

         Non-MEC class counsel requests incentive awards of $5,000 for each named plaintiff.

(Docket Entry No. 44 at 17). MEC class counsel did not request incentive awards for the MEC

named plaintiffs. “Courts commonly permit payments to class members above those received in

settlement by class members generally.” Slipchenko v. Brunel Energy, Inc., No. 11-CV-1465,

2015 WL 338358, at *13 (S.D. Tex. Jan. 23, 2015) (quoting In re Heartland, 851 F. Supp. 2d at

1089).

         The Non-MEC named plaintiffs provided information and input in drafting the complaint,

participated in discovery, and communicated with Non-MEC class counsel throughout this

litigation. (Docket Entry No. 44 at 23). The $5,000 incentive fees are supported by the evidence

and well within the range approved in other cases. See, e.g., Izzio, 2019 WL 10589568, at *11

(approving incentive awards ranging from $10,000 to $3,000); Slipchenko, 2015 WL 338358, at

*14 (collecting cases). They are approved.




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IV.     Conclusion

        For the foregoing reasons, the MEC and Non-MEC motions for certification of the

settlement class, final approval, and award of attorneys’ fees and costs, (Docket Entry Nos. 41, 42,

43, 44, 45, 47), are granted. It is ordered that:

        1.     the MEC and Non-MEC settlement classes are certified;

        2.     the MEC and Non-MEC settlements are approved in all respects;

        3.     the request of MEC class counsel for fees is granted in the amount of $2 million;

        4.     the request of Non-MEC class counsel for fees is granted in the amount of

               $412,500;

        5.     the request of MEC class counsel for reimbursement of costs and expenses is

               granted in the amount of $292,362.33;

        6.     the request of MEC class counsel for reimbursement of costs and expenses is

               granted in the amount of $182,812; and

        7.     the request for service awards for each Non-MEC named plaintiff is granted in the

               amount of $5,000.

The parties will take the necessary steps to implement the MEC and Non-MEC settlements. The

court will retain jurisdiction for purposes of enforcing the settlements.

        SIGNED on August 23, 2021, at Houston, Texas.


                                                             _______________________________
                                                                       Lee H. Rosenthal
                                                                Chief United States District Judge




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